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COMPLAINT BY A PRISONER UNDER THE CIVIL RIGHTS ACT, 42 U.S.C. § 1983

Name: Huynh FAL 4.

Prisoner Number: — Cw VEL bod

Institutional Address:

t hast (First) (Middle Initial)

 

 

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(Enter your full name.)

AA. Med Lever tininl, oe La LLM OES

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

(aint SP;
Case No.
(Provided by the clerk upon filing)

 

 

COMPLAINT UNDER THE
autl kebabilitatiins (onen) ut ab, CIVIL RIGHTS ACT,
42 U.S.C. § 1983
Di tetudrirs: DEMAND FOR FURY THWAL .

(Enter the full name(s) of the defendant(s) in this action.)

 

 

I. Exhaustion of Administrative Remedies.

Note: You must exhaust available administrative remedies before your claim can go

A.

PRISONER COMPLAINT (rev. 8/2015)
Page 1 of UF

Jorward. The court will dismiss any unexhausted claims.

Place of present confinement Se/z7s Callies Sere LENSE.
Is there a grievance procedure in this institution? YES NM NO [J
If so, did you present the facts in your complaint for review through the grievance
procedure? YES Mw NO []
If your answer is YES, list the appeal number and the date and result of the appeal at each
level of review. If you did not pursue any available level of appeal, explain why.
1. Informal appeal: ACV? 2.9 Malet TELL Mtg LLY PF, i)" Moe: Abn
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. First formal level: nl.

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. Second formal level: wha

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. Third formal level: as

 

 

E. _ Is the last level to which you appealed the highest level of appeal available to you?
YES R= NOD
F. If you did not present your claim for review through the grievance procedure, explain why.

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A. Write your name and present address. Do the same for additional plaintiffs, if any.

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For each defendant, provide full name, official position and place of employment.

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CORRECTIONS AND REHABILITATION

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